Case 23-31039-mvl7           Doc 44    Filed 10/02/23 Entered 10/02/23 14:02:57           Desc Main
                                      Document      Page 1 of 1



-

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                     §
 IN RE:
                                                     §
                                                     §     CASE NO: 23-31039-mvl-7
 HIGHLAND SELECT EQUITY FUND,                        §
 GP, L.P.                                            §     Chapter 7
                                                     §
    DEBTOR.


                                TRUSTEE’S MEETING REPORT

         The Trustee wishes to advise the Court, creditors, and parties in interest that the Debtor’s

meeting was held and concluded with assets previously and a bar date of November 16, 2023 has

previously been established for this matter.



                                               Respectfully Submitted,

                                                 /s/ Scott M. Seidel
                                               Scott M. Seidel

                                               6505 W. Park Blvd., Suite 306
                                               Plano, Texas 75093
                                               Telephone: (214) 234-2500
                                               scott@scottseidel.com
                                               CHAPTER 7 TRUSTEE




TRUSTEE’S STATUS REPORT                                                                      SOLO PAGE
